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 United States Bankruptcy Court for the

                               District of
                                               Delaware
                                             (state)

 Case number    (tf known:                                            Chapter
                                                                                  11
                                                                                                                                                     E cne*  if this is an
                                                                                                                                                       amended filing




Official Form 201
Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                                                                                     04119

lf more space is needed, attach a separats sheet to this form. On the top of any additional pages, write the debtor's name and the case
number 1if fnownl. For moro lnformation, a separate document, lnstructions for Bankruptcy Forms for NonJndividuals,ls available.



t.   Debtor's name                                        MTE Holdings LLC



z. All other   names debtor used
     in the last 8 years
     lnclude any assumed names,
     trade names, and doing bustness
     as names




3. Debtor's federal          EmPloYer                  47         1 0 17               8I4
     ldentification Number (ElN)


r.   Debtor's address                             Principal place of buslness                                   Mailing address, if different from prlncipal place
                                                                                                                of buslness
                                                       200       N. Loraine Street                              280 East 96th Street
                                                  Number            Street                                      Number Street
                                                       Suite 6'10                                                Suite 210
                                                                                                                P.O. Box

                                                       Midland                          TX        79701          lndianapolis                IN              46240
                                                  City                                 State     ZIP Code       City                         State         ZIP Code


                                                                                                                Locatlon of pri ncipal assets, if dlfferent from
                                                                                                                prlnclpal place of business
                                                       Midland County
                                                  County
                                                                                                                Number       Street




                                                                                                                City                         State         zlP Code




s.   Debtor's website (URL)                             https://www,    m    idlandtxedc. com/


                                                   E     Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
e. Type of debtor
                                                   E     Partnership (excluding LLP)
                                                   E     otner. Specify:



                                                          Voluntary Petition for Non-lndividuals Filing for Bankruptcy                                page
Official Form 20,|
                                                                                                                                                             1
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Debtor             MTE Holdings LLC                                                                        Case number   1,r*nown)-

                                           A. Check one:
z.    Describe debtor's business
                                           E    t-tealth Care Business (as defined in 11 U.S.C. S 101(27A))
                                           0    Singte Asset Real Estate (as defined in         1   1 U.S.C. S 101 (51 B))
                                           E    Railroad (as defined in 11 U.S.C. S 101(44))
                                           D    Stockbroker (as defined in 11 U.S.c. S 101(53A))
                                           E    Commodity Broker (as defined in 11 U.S.C. S 101(6))
                                           E    Clearing Bank (as defined in 1 1 U.S.C. S 781(3))
                                           E    None ofthe above


                                           B. Check ail that apply:

                                           E    Tax-exempt entity (as described in 26 U.S.C. $ 501)
                                           0    lnvestment company, including hedge fund or pooled inveslment vehicle (as defined in 15 U.S.C.
                                                S 80a-3)
                                           fl   lnvestment advisor (as defined in 15 U.S.C. S B0b-2(a)(1 1))


                                           C, NAICS (North American lndustry Classification System) 4-digit                  code that best describes debtor. See
                                                http ://www.uscourts.oov/four-dioit-national-association-naics-codes
                                                 21         11
                                                                                                                                  .




s.    Under which chapter of the           Check one:
      Bankruptcy Code is the
      debtor filing?
                                           E    Chapter z
                                           E    Chapters
                                           El chapter     1'1.    Check ail that apply:
                                                                  tr     Debtor's aggregate noncontingent liquidated debts (excluding debts owed to
                                                                       insiders or affiliates) are less than$2,725,625 (amount subject to adjustment on
                                                                       4101122 and every 3 years after that).

                                                                  E     fne debtor is a small business debtor as defined in 1 1 U.S.C. S 101(51 D). lf the
                                                                       debtor is a small business debtor, attach the most recent balance sheet, statement
                                                                       of operations, cash-flow statement, and federal income tax return or if all of these
                                                                       documents do not exist, follow the procedure in 11 U S.C. S 1116(1XB).

                                                                  E    R plan is being filed with this petition.

                                                                  E    Acceptances of the plan were solicited prepetition from one or more classes of
                                                                       creditors, in accordance with 11 U.S.C. S 1126(b).

                                                                  E    f ne debtor is required to file periodic reports (for example, 10K and 10Q) with the
                                                                       Securities and Exchange Commission according to $ 13 or 15(d) of the Securities
                                                                       Exchange Act of 1934. File lhe Attachment to Voluntary Petition for Non-lndviduds Filing
                                                                       for Bankruptcy under Chapter 71 (Official Form 201A) with this form'

                                                                  E    me debtor is a shell company        as defined in the Securities Exchange Act of 1934 Rule
                                                                       12b-2.
                                           E    chapter 12

9. Were prior bankruPtcY cases             Eruo
      filed by or against the debtor
      within the last 8 years?             E Yes. oittri"t                                          When                       Case number
                                                                                                           MM/ DD/YYYY
      lf more than 2 cases, attach a                                                                When                       Case number
                                                       District
      separate list.                                                                                       MIV/ DD/YYYY

10.   Are any bankruPtcY cases             E    tto
      pending or being filed bY a
      business partner or an               E    Yes.   Debtor                                                                  Relationship

      affiliate of the debtor?                         District                                                                When
                                                                                                                                              MM   / DD   /YYYY
       List all cases. lf more than   1,
       attach a separate list.                         Case number, if known


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                  MTE Holdings LLC
Debtor                                                                                        Case number   (it*nownl-


11.   Why is the case filed in thrls   Check all that apply:
      districfi
                                       @ Debtor has had its domicile, principal place of business, or principal assets in this district for180 days
                                            immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                            district.

                                       E    A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.



12.   Does the debtor own or have      Eno
      possession of any real           E Yes. Answer      below for each property that needs immediate attention. Attach additional sheets if needed.
      propefi or personal property
      that needs immediate                       Why does the property need immedlate aftention? (check ail that apply.)
      attention?
                                                 E   lt poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                     What is the hazard?

                                                 E   lt needs to be physically secured or protected from the weather.

                                                 E   lt includes perishable goods or assets that could quickly deteriorate or lose value without
                                                     attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                     assets or other options).

                                                 E   ottrer



                                                 Where ls the
                                                                              Number         Street




                                                                                                                              State        zlP Code


                                                 ls the property insured?
                                                 ENo
                                                 E   Yes. lnsurance agency

                                                           Contact namo

                                                           Phone




             $tatlstlcal and admlnistratlve anformataon


13.   Debtor's estimation of           Check one:
      available funds                  El   Funds will be available for distribution to unsecured creditors.
                                       E    After any administrative expenses are paid, no funds will be available for distribution to unsecured creditors.


                                       @ r-+e                             El   r,ooo-s,ooo                           E    zs,oor-so,ooo
rl. Estimated number of                E so-sg                            E s,oor-ro,ooo                             E    so,oor-too,ooo
      creditors                        D too-tgg                          E ro,oor-zs,ooo                            E    More than   1O0,OOO

                                       D zoo-sss
                                       E    $o-$so,ooo                    El gt,ooo,oot-g1o minion                   E  $soo,ooo,oo1-gl birion
rs. Estimated assets                   E    $so,oor-$too,ooo              El $t o,ooo,oot -$so milion                E  $t,ooo,ooo,oo1-$10 bilion
                                       E    $roo,oor-$soo,ooo             E    $so,ooo,oot-$1oo milion               El $r o,ooo,ooo,oo1 -$so bilion
                                       E    $5oo,oo1-$1 mittion           E    $roo,ooo,oo1-$5oo miilion             []   More than $50 billion




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D6btor
                  MTE'Holdings LLC                                                                        Cass numbcr



                                          O     so-oso,ooo                        El $t,ooo,oot-$10       mittion                  fl   ssoo,ooo,oot-91 bllllon
ro. Estimated llabllltlee                 H     $so,oot-$too,ooo                  O   $to,ooo,oot"sso mtttton                      E    $t,ooo,ooo,oo1-$10 billion
                                          0     $too,oot-$soo,ooo                 tr $50,000,001       -$100 mllllon               E    $to,ooo,ooo,oo1-$so btttion
                                          0     $soo,oot-$t muton                 d   $1 00,000,00'l    -$500 milllon              O    More than $50 billion




            Requo$t for Rellolt Dgclaratlonr and $lgnaturer


WARNING     *   Bankruptcy fraud ls a serlous crime. Maklng a false stat€ment ln connection with a bankruptcy cas€ can
                                                                                                                       result ln flnes up to
                                                      yoars, or both.  18 U,S,C.    152,1341,1519'   and 3571'
                $500,000 or imprisonmont for up to 20                            55


tr. Declaratlon and algnature of          r      The deblor reque$ts rellef ln accordanco wilh lhe chaplor ot lltle 1 1, Unlted Slates Code, speciffed ln lhls
   authorlzed rePresentatlve of                  petltlon.
   dobtor
                                          .      I have been authorlzed to llls thls petltlon on behalf of the debtor.


                                          r      I have examined the informallon ln lhls pelition and have a reaeonable belief thal lhe lnformallon ls lrue
                                                                                                                                                            8nd

                                                 corrgct,


                                          I   declaro under p€nally ol perjury lhat lhe foregoing i3 lrue and corroct.

                                                                   1012212019
                                                Exdcutsd on


                                          JC                                                                          Mark A. Slffin
                                                Slgnature ot                            ot debtor                   Printod nsmc

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                                                Tltle




ro. Slgnature of     sttornsy             x        /s/ Robert J. Dehney                                             Date
                                                                                                                                 10t22t2019

                                                 Signdurs of altomry for doblol                                                  MM /DD /YYYY

                                                  Robert J. Dehney
                                                Prlntod name
                                                                          Arsht & Tunnell LLP
                                                        namo
                                                  1201         N. Market Street
                                                Numbar           Streot
                                                                                                                            DE           19899-1347
                                                                                                                        Statt           zlP Qodd

                                                   302-658-9200                                                            rdehney@mnat.com
                                                Contac't phono                                                          Emall addl€88



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                                                Bar numbgl                                                              Sl,Elo




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                                   RESOLUTIONS OF
                              THE MANAGING MEMBER OF
                                 MTE HOLDINGS LLC

                                        October 22, 2019

        On October 22, 2019, Olam Energy Resources I LLC (the “Managing Member”), the
managing member of MTE Holdings LLC (the “Company”), took the following actions and
adopted the following resolutions in accordance with (i) the applicable governing law of
Delaware, (ii) the limited liability company operating agreement of the Company, and (iii) the
certificate of formation of the Company.

                  Authorization to Commence Chapter 11 Proceedings;
                Authorization to Employ and Retain Requisite Professionals

        WHEREAS, the Managing Member of the Company has reviewed and analyzed the
materials presented by the Company’s management and the Company’s legal advisors and has
held vigorous discussions (including with management and such advisors) regarding such
materials and the liabilities of the Company, the short- and long-term prospects of the Company,
the restructuring and strategic alternatives available to the Company, and the impact of the
foregoing on the Company’s business and operations and has consulted with management and
the Company’s legal advisors regarding the above; and

        WHEREAS, the Managing Member of the Company has determined that it is necessary,
advisable and in the best interests of the Company, its creditors, members and other interested
parties, and necessary and convenient to the purpose, conduct, promotion, or attainment of the
business and affairs of the Company, that a petition be filed by the Company seeking relief under
chapter 11 of title 11 of the United States Code (the “Bankruptcy Code”) and that the Company
undertake related actions.

NOW THEREFORE BE IT:

        RESOLVED, that the Managing Member of the Company, in its best judgment, and after
consultation with management and the Company’s legal advisors, has determined that it is
desirable and in the best interests of the Company, its creditors, members and other interested
parties that a voluntary petition for relief under chapter 11 of the Bankruptcy Code be filed and
directs that the Company file or cause to be filed a voluntary petition for relief under chapter 11
of the Bankruptcy Code;

        RESOLVED FURTHER, that the “Authorized Officer” referenced in these resolutions
shall be Mark A. Siffin;

        RESOLVED FURTHER, that the Authorized Officer of the Company, be, and hereby is,
authorized and empowered on behalf of, and in the name of, the Company to execute and verify
or certify a petition under chapter 11 of the Bankruptcy Code and to cause the same to be filed in
the United States Bankruptcy Court for the District of Delaware at such time as such officer shall
determine;
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       RESOLVED FURTHER, that the Authorized Officer of the Company be, and hereby is,
authorized and empowered on behalf of, and in the name of, the Company to execute and file all
pleadings, schedules, lists, and other papers, and to take any and all actions that such officer may
deem necessary or proper in connection with the foregoing resolutions;

        RESOLVED FURTHER, that the Authorized Officer be, and hereby is, authorized and
empowered on behalf of, and in the name of, the Company to engage the law firm of Kasowitz
Benson Torres LLP (“Kasowitz”) as general bankruptcy counsel to represent and assist the
Company in carrying out its duties under the Bankruptcy Code and to take any and all actions to
advance the Company’s rights and interests, including filing any pleadings and making any
filings with regulatory agencies or other governmental authorities; and, in connection therewith,
the Authorized Officer be, and hereby is, authorized and directed to execute appropriate retention
agreements, pay appropriate retainers prior to and after the filing of the Company’s chapter 11
case, and cause to be filed an appropriate application for authority to retain the services of
Kasowitz;

        RESOLVED FURTHER, that the Authorized Officer of the Company be, and hereby is,
authorized and empowered on behalf of, and in the name of, the Company to engage the law firm
of Morris, Nichols, Arsht & Tunnell LLP (“MNAT”) as Delaware counsel to represent and assist
the Company in carrying out its duties under the Bankruptcy Code and to take any and all actions
to advance the Company’s rights and interests, including filing any pleadings and making any
filings with regulatory agencies or other governmental authorities; and, in connection therewith,
the Authorized Officer of the Company be, and hereby is, authorized and directed to execute
appropriate retention agreements, pay appropriate retainers prior to and after the filing of the
Company’s chapter 11 case, and cause to be filed an appropriate application for authority to
retain the services of MNAT; and

       RESOLVED FURTHER, that the Authorized Officer of the Company be, and hereby is,
authorized and empowered on behalf of, and in the name of, the Company to engage any other
professionals as deemed necessary or appropriate in his sole discretion to assist the Company in
carrying out its duties under the Bankruptcy Code, including executing appropriate retention
agreements, paying appropriate retainers prior to or after the filing of the Company’s chapter 11
case, and filing appropriate applications for authority to retain the services of any other
professionals as the Authorized Officer shall in his sole discretion deem necessary or desirable.

                                             General

        RESOLVED FURTHER, that the Authorized Officer of the Company be, and hereby is,
authorized and empowered on behalf of, and in the name of, the Company to (i) take or cause to
be taken any and all such further actions and to prepare, execute and deliver or cause to be
prepared, executed and delivered and, where necessary or appropriate, file or cause to be filed
with the appropriate governmental authorities, all such necessary or appropriate instruments and
documents, (ii) incur and pay or cause to be paid all fees and expenses associated with or arising
out of the actions authorized herein, and (iii) engage such persons as the Authorized Officer shall
in his sole discretion deem necessary or desirable to carry out fully the intent and purposes of the
foregoing resolutions and each of the transactions contemplated thereby, such determination to
be conclusively established by the taking or causing of any such further action;
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        RESOLVED FURTHER, that all lawful actions of any kind taken prior to the date hereof
by the Authorized Officer, or any person or persons designated or subsequently authorized to act
by the Authorized Officer, which acts would have been authorized by the foregoing resolutions,
except that such acts were taken prior to the adoption of such resolutions, are hereby severally
ratified, confirmed, approved and adopted as acts of the Company;

       RESOLVED FURTHER, that the signature of the Authorized Officer of the Company on
any document, instrument, certificate, agreement or other writing shall constitute conclusive
evidence that such officer deemed such act or thing to be necessary, advisable or appropriate;
and

       RESOLVED FURTHER, that the Authorized Officer of the Company be, and hereby is,
authorized and empowered to certify and to furnish such copies of these resolutions as may be
necessary and such statements of incumbency of the corporate officers of the Company as may
be requested.

                                       *********
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